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  9                           UNITED STATES BANKRUPTCY COURT

 10           CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

 11
      In re                                     Case No. 2:16-bk-19944-ER
 12
      MARLINA E. JACKSON-CONARD                 Chapter 7
 13
                    Debtor.                     CONDITIONAL NON-OPPOSITION TO
 14                                             THE CHAPTER 7 TRUSTEE’S
                                                MOTION FOR ORDER (1)
 15                                             AUTHORIZING SALE OF REAL
                                                PROPERTY LOCATED AT 21141
 16                                             NEPTUNE AVE., CARSON
                                                CALIFORNIA (APN 7334-014-054)
 17                                             FREE AND CLEAR OF LIENS,
                                                CLAIMS AND INTERESTS; (2)
 18                                             CONFIRMING SALE TO THIRD
                                                PARTY OR THE HIGHEST BIDDER
 19                                             APPEARING AT THE HEARING; (3)
                                                DETERMINING THAT BUYER IS A
 20                                             GOOD FAITH PURCHASER; (4)
                                                AUTHORIZING THE TRUSTEE TO
 21                                             WITHOLD AND REMIT ESTIMATED
                                                STATE INCOME TAXES RESULTING
 22                                             FROM THE SALE, IF ANY; (5)
                                                WAIVING THE FOURTEEN (14) DAY
 23                                             STAY PRESCRIBED BY RULE 6004(h)
                                                OF THE FEDERAL RULES OF
 24                                             BANKRUPTCY PROCEDURE; (6)
                                                REQUIRING DEBTOR TO VACATE,
 25                                             TURN OVER POSSESSION OF, AND
                                                REMOVE PERSONAL PROPERTY
 26                                             FROM THE PROPERTY; AND (7)
                                                AUTHORIZING THE UNITED STATES
 27                                             MARSHAL AND/OR LOS ANGELES
                                                COUNTY SHERIFF TO ENFORCE
 28                                             ANY TURNOVER ORDER


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  1
                                                          DATE: June 14, 2017
  2                                                       TIME: 10:00 a.m.
                                                          CTRM: 1568
  3

  4          U.S. Bank National Association (“U.S. Bank”), a secured creditor of the above-
  5   referenced bankruptcy estate, hereby submits this conditional non-opposition (“Conditional Non
  6   Opposition”) to the Chapter 7 Trustee’s Motion for an order (1) Authorizing Sale of Real
  7   Property Located at 21141 Neptune Ave., Carson, California (APN 7334-014-054) Free and
  8   Clear of Liens, Claims and Interests; (2) Confirming Sale to Third Party or Highest Bidder
  9   Appearing at the Hearing; (3) Determining that the Buyer is a Good Faith Purchaser; (4)
 10   Authorizing the Trustee to Withold and Remit Estimated State Income Taxes Resulting from the
 11   Sale, if any; (5) Waiving the Fourteen (14) Day Stay Prescribed by Rule 6004(h) of the Federal
 12   Rules of Bankruptcy Procedure; (6) Requiring Debtor to Vacate, Turn Over Possession of, and
 13   Remove Personal Property from the Property; and (7) Authorizing the United States Marshal
 14   and/or Los Angeles County Sheriff to Enforce any Turnover Order (“Motion to Sell”) filed by
 15   the Chapter 7 Trustee Elissa Miller (the “Trustee”) based on the following:
 16                                  I.      STATEMENT OF FACTS
 17          1.      On May 16, 2006, Debtor and Thelma J. Jackson (collectively, the “Borrowers”)
 18   executed a promissory note in the principal sum of $305,000.00 (the “Note”). The Note is
 19   specially indorsed to U.S. Bank. The Note is secured by a deed of trust (the “Deed of Trust”)
 20   executed by the Borrowers and on the real property located at 21141 Neptune Avenue, Carson,
 21   California 90745 (the “Property”). The Deed of Trust reflects that it was duly recorded on May
 22   25, 2006 in the Official Records of the Los Angeles County Recorder’s Office. Copies of the
 23   Note and Deed of Trust are attached collectively hereto as Exhibit A. The Note and Deed of
 24   Trust are referred to collectively hereinafter as the Subject Loan.
 25          2.      The beneficial interest in the Deed of Trust was subsequently assigned to U.S.
 26   Bank. A copy of the Assignment of Deed of Trust is attached hereto as Exhibit B.
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                                           -2-                  CASE NO. 2:16-bk-19944-ER
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  1          3.      On July 27, 2016, the Debtor filed a voluntary petition under Chapter 7 of the

  2   Bankruptcy Code in the United States Bankruptcy Court for the Central District of California,

  3   Los Angeles Division, and was assigned case number 2:16-bk-19944-ER.

  4          4.      On May 23, 2017, the Trustee filed the Motion to Sell wherein she requests

  5   authorization from the Court to sell the Property free and clear of liens for $410,000.00. Pursuant

  6   to the Motion to Sell, the Trustee proposes to pay off U.S. Bank’s lien, which the Trustee

  7   estimates to be in the approximate amount of $245,000.00, from the proceeds of the sale at the

  8   close of escrow. (See Docket No. 20).

  9          5.      As of June 1, 2017, the approximate amount required to pay off U.S. Bank’s lien

 10   is $249,123.73.

 11          6.      Trustee’s counsel and/or the escrow company facilitating the sale shall contact the

 12   undersigned counsel for U.S. Bank closer to the date of the proposed sale for an updated payoff.

 13                                              II.     RESPONSE

 14   U.S. BANK DOES NOT OPPOSE THE TRUSTEE’S MOTION TO SELL ON THE
      CONDITION THAT THE FOLLOWING PROVISIONS ARE INCLUDED IN THE
 15   ORDER:
 16          1.      U.S. Bank’s consent to the Motion to Sell is contingent upon the payment of U.S.
 17   Bank’s first priority lien on the Property in full from the proceeds of the sale; and
 18          2.      U.S. Bank’s first priority lien shall immediately attach to the sale proceeds with
 19   the same force and effect, and in the same priority, validity and scope as U.S. Bank’s lien;
 20          3.      U.S. Bank’s first priority lien shall be paid off in full or in accordance with any
 21   approval authorized by U.S. Bank before satisfying any other lien on the Property; and
 22          4.      U.S. Bank is authorized to submit an updated payoff demand to the appropriate
 23   escrow company facilitating the sale closer in time to the closing of the proposed sale; and
 24          5.      To the extent that the Trustee disputes any amounts which U.S. Bank claims are
 25   owed on the Subject Loan, the undisputed amount of U.S. Bank’s claim shall be paid at the close
 26   of the sale and the disputed amount of U.S. Bank’s claim shall be segregated in an interest
 27   bearing account with an additional $3,000.00 in sale proceeds pending further Order of the
 28


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  1   bankruptcy court to allow for U.S. Bank’s potential recovery of any of its reasonable attorney’s

  2   fees and costs incurred to the extent that U.S. Bank successfully establishes its right to the

  3   disputed amount due on its claim; and

  4          6.       In the event that the sale of the Property does not take place and U.S. Bank’s first

  5   priority lien is not paid off in full, U.S. Bank shall retain its lien for the full amount due under the

  6   Subject Loan.

  7          Based on the foregoing, U.S. Bank submits its Conditional Non-Opposition to the

  8   Trustee’s Motion to Sell, and respectfully requests that the above-referenced provisions be

  9   included in any Order granting the Trustee’s Motion to Sell.

 10

 11   Dated: June 6, 2017                            ALDRIDGE PITE, LLP

 12

 13                                                  Joseph C. Delmotte
                                                     Attorneys for Respondent, U.S. Bank National
 14                                                  Association.
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                                                          4375 Jutland Drive, Suite 200
                                                                P.O. Box 17933
                                                           San Diego, CA 92177-0933

A true and correct copy of the foregoing document entitled CONDITIONAL NON-OPPOSITION TO TRUSTEE’S MOTION
TO SELL REAL PROPERTY will be served or was served (a) on the judge in chambers in the form and manner required
by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On June 6,
2017, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

    x   Debtor’s Attorney: Michelle A Marchisotto michelleam@4bankruptcy.com
    x   Debtor’s Attorney: Sundee M Teeple jeffsw@4bankruptcy.com
    x   Chapter 7 Trustee: Elissa Miller (TR)     CA71@ecfcbis.com,
        MillerTrustee@Sulmeyerlaw.com; C124@ecfcbis.com
    x   United States Trustee (LA)                ustpregion16.la.ecf@usdoj.gov

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On June 6, 2017, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

Honorable Ernest M. Robles                            DEBTOR                                                 BORROWER
U.S. Bankruptcy Court,                                Marlina E. Jackson-Conard                              Thelma J Jackson
Roybal Federal Building                               21141 Neptune Ave.                                     21141 Neptune Ave.
255 E. Temple Street, Suite 1560                      Carson, CA 90745                                       Carson, CA 90745
Los Angeles, CA 90012-3332
                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on _______________, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 June 6, 2017        Michael W. Leewright                                                       /s/ MICHAEL W. LEEWRIGHT
 Date                             Printed Name                                                  Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
